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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION
                                  CASE NO. : 06- 243- JMH


 West Hills Farms , LLC                                                                 PLAINTIFFS
 Arbor Farms , LLC
 Nelson Breeders , LLC and
 MacDonald Stables LLC



 ClassicStar , LLC , ClassicStar Farms , LLC
 National Equine Lending Co. , LLC , Geostar Corp.                                    DEFENDANTS
 Tony Ferguson , David Plummer , and
 John Does 1-

                                    AMENDED COMPLAINT

        For their                                                  , the Plaintiffs              , LLC

   West Hills ), Arbor Farms , LLC (" Arbor ), Nelson Breeders , LLC ("Nelson ) and MacDonald

 Stables LLC (" MacDonald" )( collectively " Plaintiffs ), through counsel , state as follows:

                        I.
                Acting together ,   over the past               , the defendants have converted a


 thoroughbred horse breeding operation into a vehicle used to defraud unsuspecting purchasers of

 nearly $500 million.

                Operating in a                      , including


 marketed and sold thoroughbred Mare Lease Programs (the " Mare Lease Programs ) to wealthy

 individuals interested in participating in the thoroughbred horse industry.

                The United States government is currently pursuing a criminal investigation into

 the activities of the                                                      , and in February, 2006


 acting on                           , seized the                                       , LLC.    (See
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 Exhibit AJ As          , the participation of Plaintiffs and all others who participated in the Mare

 Lease Programs have been called into question.

                As                                  , the


 ownership of thoroughbred breeding interests worth millions of dollars with the potential to own

 extremely valuable thoroughbred foals as a result of the breeding. Moreover, by virtue of certain

 tax benefits associated with the Mare Lease Programs , purchasers could fund their participation

 with an out-of- pocket outlay of only a fraction of the Mare Lease Program s value.

                However , defendants deliberately sold Mare Lease Programs with a total value of

 tens of millions of dollars greater than the


 sustain and contrived to disguise this fact by substituting non- thoroughbred horse pairings for the

 thoroughbred interests promoted and promised to purchasers.

                In 2004 alone , the defendants succeeded , by virtue of their fraudulent practices , in

 selling more than

 owned only approximately $40 million of                                                       ' direct


 losses as a result of this scheme exceed $20 million.

                Based on the defendants ' fraudulent misrepresentations and other illegal actions

 in connection with the Mare Lease Programs , Plaintiffs bring this

 pursuant to the Racketeer Influenced and Corrupt Organizations Act (" RICO" ), 18 U.S. C. 91961

 et. seq. and other federal and state laws. Defendants engaged in such violations

 co-conspirators. The state law claims arise out of the

 transactions or occurrences that form the basis of the RICO cause of action.
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                           II.
                  Plaintiff West Hills is a limited liability

 the laws of the state of Oregon with its principal place of business located in Portland , Oregon.

                  Plaintiff Arbor is a limited liability

 laws of the state of Oregon with its principal place of business located in Portland , Oregon.

            10.   Plaintiff Nelson is a limited liability

 state of Washington with its principal place of business located in Bellevue , Washington.

            11.   Plaintiff MacDonald is a limited liability company

 the state of Wisconsin.

            12.   Defendant David Plummer (" Plummer        ) is   , upon information and belief, a citizen

 and resident of the State of Utah with a

 Utah.

            13.   Defendant Tony Ferguson (" Ferguson       ) is   , upon information and belief, a citizen

 and resident of the State of Florida with a residence or place of

 Florida.

            14.   Defendant ClassicStar , LLC (" ClassicStar             is a
 organized and existing under the laws of Utah and authorized to conduct business in Kentucky,

 with a registered agent located in Lexington, Kentucky.

 LLC operate two horse farms with approximately 600 acres , and have employed approximately

 40 individuals in Kentucky.

            15.   Defendants ClassicStar Farms , LLC (" ClassicStar Farms ) is a limited liability

 company organized and existing under the laws of Kentucky, with a registered agent located in

 Lexington , Kentucky.
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         16.     Defendant National Equine Lending Company, LLC ("NELC" ) is a Utah limited

 liability Company with a registered agent located in Salt Lake City, Utah.

         17.     Defendant GeoStar                               GeoStar   ) is a
 existing under the laws of

 GeoStar is a closely- held corporation that owns ,              indirectly through subsidiaries , ClassicStar.


 Three individuals , Ferguson Thomas Robinson ,                  of Michigan ,   and John Parrott ,   of the US.
 Virgin Islands , own the primary interest in GeoStar , with a small percentage of GeoStar currently

 owned or owned in the past by Plummer                  s son.    In addition to ClassicStar , GeoStar owns


 approximately 15% of GasStar , a publicly traded corporation.

         18.     Defendants John Does 1- 3 are agents of ClassicS tar who participated in marketing

 the Programs and made representations to Plaintiffs regarding same.

         19.     At all                                              , each of the defendants was


  person " as that term is defined in 18 US. C. 91961 and used in 18 US. C.              91962.


         20.     Pursuant to 28 US. C.        91331 ,   this Court has original jurisdiction over the subject

 matter of this case because all of part of the                                                   ' violations the

 United States Code , including,       inter alia the Racketeer Influenced Corrupt Organizations Act

   RICO" ), 18 US. c.     91961    et. seq.

         21.     This Court has supplemental


 asserted herein that arise under state law pursuant to 28 US. C. 91367(a) and the doctrines of

 pendent and ancillary jurisdiction , because the state law claims arise from a common nucleus of

 operative fact giving rise to the federal claims alleged this case.

         22.     This Court has personal

 pursuant to 18 US. C.      91965(a),
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 business in Kentucky or has minimum contacts with Kentucky, through their involvement with

 management of, or receipt of funds from the ClassicStar Mare Lease Programs and the operation

 of ClassicStar farms in Versailles , Kentucky, such that it is reasonable for this Court to exercise

 jurisdiction over them.

        23.     Venue is proper in this district pursuant to 18 US. C. 91965 and 28 US. C.     91391


 as one or more of the defendants reside , are found , have agents , or transact their affairs within

 the Lexington jury division of this Court and conducted their fraudulent scheme , through use of

 the United States Mail or interstate wire communications in an illegal manner , from this District.

              III. P
                                    AND TAX TREATMENT

        24.     Mare leases represent one alternative method of participating in the thoroughbred

 industry. Rather than investing in a                                     , the participant leases the

 rights to the mare for a breeding season and then purchases a stallion

 connection with the leased mare , retaining or selling the foal that results

 Often the arrangement also includes the price of board for the mare and/or foal and insurance.

        25.     Mare leases are a recognized mode of participation in the thoroughbred

 Prior to the                                                          , ClassicStar s predecessor


 conducted a well regarded operation that included boarding and leasing of thoroughbred mares.

        26.     Participation in the equine industry has                            taxpayer that is

 actively engaged in the horse

 business expenses the amounts that he pays in connection with the business during any tax year.

 Such ordinary expenses can include insurance , board fees, stud fees , and either the depreciation

 of a mare purchased by the taxpayer or the cost of leasing a mare if the taxpayer chose to enter

 into a leasing program , rather than make an outright purchase.
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            27.         When the mare , whether leased or purchased , is bred to a stallion and produces a

 foal that is sold , the net revenue that is received by the taxpayer may be taxed as ordinary income

 rather than as capital gains. Because the cost of producing the foal was deducted as an ordinary

 expense , the taxpayer has no basis in the foal , making the proceeds , net of selling costs , taxable

 ordinary income.

            28.         When a taxpayer purchases a horse for breeding or racing

 ownership for two years before                                   , any gain on the

 treatment and is subject (in the highest tax bracket) only to 15% taxation , as opposed to the 37%

 applicable to normal income.

            29.         A taxpayer may be entitled to deduct his breeding expenses even if the source of

 his investment is a loan , provided that the loan is not made by a party with certain

 with the party to whom the breeding expenses are being paid.

                                    IV.
            30.          Since at least 2001 , the defendants Ferguson and Plummer , presided over and , in

 concert with the other defendants , were associated with and conducted the affairs of an enterprise

 which systematically and wrongfully obtained hundreds of


 of fraudulent Mare Lease                                             ' schemes were presented , marketed and

 sold to purchasers by the defendants using,                 inter alia the United States mail and/or interstate

 wire communications.                     The defendants ' illegal conduct                        , wire fraud


 misrepresentation and misappropriation of purchaser s funds.

            31.         Prior to 1998 ,        the thoroughbred mare leasing and boarding operation currently

 controlled by ClassicStar was run by an unrelated entity known as Classic Breeders , LLC.
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             32.         Classic Breeders , LLC owned over 60 mares valued at approximately $6 million

 in addition to a number of stallion nominations

 Breeders mares.


             33.         Classic Breeders           , LLC
 Plummer.

             34.        In 2000 , an entity controlled by David Plummer purchased most of the assets of

 Classic Breeders , LLC and continued its thoroughbred mare operations.

             35.         Through its subsidiaries ,                   GeoStar, under Ferguson s control , subsequently

 acquired ownership of New Classic Breeders and changed its name to ClassicStar , LLC.

             36.         ClassicStar continued to operate the thoroughbred

 business , in conjunction with its wholly-owned subsidiary ClassicStar Farms.

             37.        However ,          subsequent to the                                              , GeoStar, and


 Ferguson , ClassicStar began inflating the value of its Mare Lease Programs and selling far more

 Programs than the thoroughbred interests owned by ClassicStar could support.

             38.        In marketing                                              , ClassicStar


 materials both personally through its

 interstate methods of communication.

            39.         In mailings addressed to a " Prospective Client , CPA, Attorney or Tax Advisor

 David Plummer

 opportunity, with a historical net cash return on investment of 1133%.                       See   attached Exhibit A.


            40.          ClassicStar Brochures also touted its

 mares and its ability to provide the " Ultimate Tax Solution , which converts ordinary income to

 long- term capital gains.                See    attached Exhibit B.
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           41.   Once ClassicStar had                                      , its agents , including


 Ferguson and Plummer , would make personal presentations regarding the benefits of purchasing

 a Mare Lease Program. Often ,    Plummer would explain the operations of the Kentucky farms

 while Ferguson would address the purported financial benefits of the program.

           42.   In marketing the fraudulent scheme , the defendants explained that the Mare Lease

 Programs they offered for sale included several components.

           43.   The primary component involved participation in the breeding of

 horses. Participants would receive a list

 and a listing of

 mares.

           44.   Once participants                                           , defendants would


 provide a book detailing the available thoroughbred mares and nominations. Participants would

 make selections from the catalog and , in most instances , rely on selections

 ClassicStar or ClassicStar Farms after consultation with participants.

           45.   Plummer and other agents of ClassicStar represented that ClassicStar owned the

 mares and the                                                                         , and that


 assuming a successful breeding, the participants would own the thoroughbred foals that would

 result.

           46.   The defendants , including Plummer and Ferguson , also marketed the Mare Lease

 Programs as complying with IRS

 defendants unequivocably represented that ,     by following


 participation in the Mare Lease Programs , participants could properly deduct the value of the

 Mare Lease Programs as ordinary business expenses on their income tax returns.
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            47.         According to the defendants ,            the purchase price for the Mare

 would equal the total value of mare leases , stallion services and pre- paid boarding provided in

 connection with the mare leases , with the price associated with the mare leases being set at 30%

 of the market value of the mare as given to the participants.

            48.         Finally, the defendants

 feature whereby the                                                                                               , by


 exchanging their interests in the foals

 liability companies or partnerships , obtain capital gains treatment for the

 participation in the Mare Lease                                               , defendant GeoStar,       acting at the


 direction of Ferguson , made available both stock and working interests in gas properties which it

 owned in order to facilitate this aspect of the program and offer further incentive to participants.

            49.         Defendants also encouraged participants to purchase more expensive Mare Lease

 Programs by arranging for defendants to borrow a large portion of the necessary funds from a

 supposedly independent company, NELC.                             Defendants concealed their

 affiliations between ClassicStar or its principals and NELC.                    In   fact , the connections between

 defendants and NELC call into question the ability of participants to deduct the loan proceeds

 that were paid to
 Program.

             50.        The defendants also

 would receive breeding rights (a lease) to a group of thoroughbred mares , along with the right to

 use ClassicStar s stallion                                                                        , boarding for the

 mares and foals , and ownership of the resulting thoroughbred foals.                   In   addition , the participants

 would be able to deduct the total cost of participating in the
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  expense and would ultimately receive capital gains treatment of the income resulting from their

  activities.

          51.      The defendants represented that the participants could purchase the Mare Lease

  Programs with an initial cash outlay amounting to only a fraction of the value of the total mare

  lease package , because a substantial portion would be funded by NELC.

          52.      Defendants marketed the Programs and these features to a number

  participants , generating more than $500 000 000 in sales between 2000 and 2004.

          53.      Representatives of


  February or March of2004.

          54.      At a March 2004

  Breeders ,    ClassicStar provided                                 Illustration" of the Mare Lease

  Program.

          55.      The Illustration , which                                a division of the GeoStar


  Group, "   represented that , for an up- front investment of approximately $2     900 000 , Nelson

  participation would generate tax savings of                          000 000 and net after tax mare

  lease revenue of approximately $9 million.

          56.      Nelson Breeders '   Illustration also outlined several options to exchange a portion

  of the Mare Leases for alternative investments , including ownership of an interest in an entity

  called First Energy Partners , Inc. and                                                     , Ltd. , a


  publicly traded company controlled by GeoStar and Ferguson. The Illustration also offered the

  option of using a percentage of the interests for repayment of the NELC loan and , by virtue of a

  put option associated with the GasStar stock, provided for a projected net after tax return of

  326%.
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              57.         ClassicStar prepared a

  which closely resembled the first

  Equine Partnership and an entity called GeoEquities LLC.

              58.         ClassicStar s agents represented to Nelson that the

  Illustrations rested on verified past results and that

  would not raise any

  rules and regulations.

              59.        Moreover , ClassicStar represented that it owned sufficient thoroughbred interests

  to justify the cost of the Program and that Nelson Breeders would own any foals resulting from

  its pairings and be free to                                   , train them ,   or contribute


  investments at its option.

              60.        Relying on                                         , Nelson Breeders executed a binding


  agreement (with an effective date of March 26 , 2004) committing it to a

  and to

  ClassicStar regarding the particular thoroughbred pairings.                            (See   Letter Agreement , Exhibit C.

              61.         Shortly thereafter Nelson made a                                         812 000 to

  continued to make payments and incur obligations totaling $28 million up until the execution of

  the mare lease and boarding agreements in December 2004.

             62.         ClassicStar presented a similar Illustration to West Hills in or around May 2004

  in which it represented that for approximately $800 000 upfront , West Hills ' participation would

  generate            100   000    in after tax revenue , based on tax savings of approximately                     800   000   and

  utilizing a NELC loan of$6 500 000 (half the amount of the total program).
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          63.    Again ClassicStar represented that the total

  (approximately $13      000 000 in West Hills ' illustration) reflected                  30%   of the fair value of the

  mares , the fair value of the stallion nominations , and the fair value of the

  ClassicStar and/or ClassicStar Farms , that ClassicStar

  compliance with all IRS requirements ,                   and that historical

  projections.

          64.    ClassicStar also represented that West Hills would own any foals resulting from

  the pairings and that it owned thoroughbred horses sufficient to justify the projections and costs.

          65.    Arbor Farms received an almost identical Illustration around early June                       2004   and

  ClassicStar made the same representations about its programs at a meeting on or around June 13

  2004.

          66.    In reliance on these representations ,                      Arbor Farms and West Hills , on or

  July    , 2004 forwarded to ClassicStar executed letter agreements committing them to making

  payment and

  ClassicStar regarding the pairings , in essentially the same form as the Nelson agreements.

          67.    On September 24 2004 ClassicStar mailed invoices to West Hills and

  Farms for $4 482 494         and $4 491 807 ,             respectively, and

  payments.

          68.    Thereafter , from October                  2004     through December      2004 West Hills and Arbor

  Farms each paid , by wire and check , approximately $7 000 000 to ClassicStar.

          69.    Plaintiffs also executed notes to NELC , in the principal amount of $25 088 000

  for Nelson Breeders and $7               000    000 each for West Hills                                    ClassicStar
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  represented to


  December 23 , 2004.

                 70.      On or around December 23 , 2004 , each of the plaintiffs executed the mare lease

  and breeding agreements making up the body of the program.                            , in accordance with

  the terms of the letter agreement , plaintiffs had already transferred tens of millions of dollars to

  ClassicStar.         (See   Sample Agreement , attached as Exhibit D.

                 71.      The Leases specifically warranted that ClassicStar owned the mares involved.

                 72.      The Leases also gave

  thoroughbred mares chosen by defendants , but required that the substitution be of equal value to

  the original mare.

                 73.      Based on similar representations , MacDonald purchased Mare Lease Programs in

  among other years , 2004 and 2005 valued at $8 million and $3 million respectively.

                 74.      ClassicStar once again represented that it owned all of the mares being leased to

  MacDonald and that these mares were being boarded at MacDonald' s expense at the ClassicStar

  Farm in Kentucky.

                 75.      As part of the Mare Lease Programs , ClassicStar represented that it had traded out

  MacDonald' s 2004 Mare Lease Program interests for other assets. To date , MacDonald has not

  received the agreed upon                                                , in the


  million which included inter alia breeding interest in various thoroughbreds.

                 76.      MacDonald has also not been able to locate the mares represented as involved in

  the 2005 Mare Lease Programs , and believes that ClassicStar has listed two of these mares , along

  with their in utero foals , for sale.
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         77.     The defendants misrepresented virtually every material aspect of the Mare Lease

  Programs. Specifically,

  dollars of interests in thoroughbred bloodstock, that the Mare Lease Programs fairly reflected the

  value of the horses and services involved ,    and that ClassicStar had structured the

  that the financing

  deduction taken by purchasers.

         78.     In fact   , the costs and
  investment were entirely fictional , and they grossly overstated both the actual costs which would

  have been involved in the Mare Lease Programs and the value of the horses involved.

         79.     Moreover ,    defendants                                           , knowing

  ClassicStar and/or ClassicStar Farms did not

  necessary to support the valuations placed on the Programs or the number of Programs sold.

         80.     For instance , ClassicStar , in 2004 , entered into Mare Lease Programs valued at

  approximately $160 million , with the majority of the Programs consisting of the mare leases and

  stallion fees. However ,    ClassicStar   s ownership in equine bloodstock for this period was no

  more than approximately $40 million , one fourth of the value sold.

         81.     To conceal this intentional policy of

  further their fraudulent scheme , the defendants contrived to substitute ,     in large part , non-


  thoroughbred mares (from a roundup horse breed used to herd


  number of the thoroughbred mares which should have been included in the Lease. Plaintiffs

  not learn of this substitution until after making payment to ClassicStar.

         82.     As part of this                         , ClassicStar farms were set up to

  purported embryo implants from quarter horses into
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  embryo implants would have produced quarter horses , because artificial breeding is allowed in

  the quarter horse industry. However , upon information and belief, ClassicStar may have owned

  embryos resulting from certain quarter horse pairings , but it did not

  support even the quarter horse aspect of the program.

           83.   Whether
  However , Plaintiffs believed , and the defendants led them to believe , that their entire investment

  was in
  thoroughbred stallion to                                                                          The

  defendants did not disclose the involvement of the quarter horse embryos , surrogate mares or

  artificial breeding to plaintiffs until Plaintiffs had paid for the Mare Lease Programs.

           84.   Moreover , the values placed on the (likely

  greatly exceeded any reasonable value for such interests , a fact known to defendants at the time

  they requested payment from Plaintiffs and thereafter.

           85.   Because participants such as Plaintiffs would not own the

  thoroughbred foals at the end of the breeding season , defendants knew that participants could not

  possibly achieve the rate of return represented.

           86.   Even if participants elected one of the " alternative investments "   and contributed a


  portion of their leases to another

  represented value because the

  obligations associated with those interests. However , the existence of the alternative investments

  and the availability of Gastar stock helped to disguise the lack of adequate

  to sustain the Programs.
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              87.        Also to facilitate the policy of

  other defendants to create a financing plan for the Mare Lease

  conceal the substitution of non- thoroughbreds and led participants , including Plaintiffs , to claim

  deductions which resulted in tax

  defendants.

              88.        Upon information and belief, ClassicStar actually loaned the

  finance the Mare Lease Programs to NELC , a fact not disclosed to Plaintiffs. Plaintiffs have no

  knowledge that NELC actually advanced any funds to ClassicStar.

              89.         This circular loan structure and the ownership ofNELC by Plummer s brother- in-

  law , a fact also not disclosed to Plaintiffs , together with other

  transactions have led to                   criminal investigation by the                      , of the


  programs and practices of ClassicStar and its affiliates , despite the defendants ' representations

  that they had disclosed all facts necessary for Plaintiffs to rely on their assurances regarding the

  proper tax treatment of the expenses.

              90.        NELC knowingly conspired with the other defendants to conceal the nature of its

  dealings with ClassicStar and the over valuation of the ClassicStar Mare Lease Programs.

              91.        Upon information and belief, NELC also accepted a portion of the proceeds of the

  Mare Lease Programs with knowledge that

  misrepresenting certain facts including,            inter alia those regarding NELC.

              92.        Defendant GeoStar also knowingly accepted the proceeds of the other defendants

  fraudulent schemes. For instance , early in the history of the Programs , ClassicStar advanced

  approximately $10 million to GeoStar , which advance was booked as a loan but later reduced to

  zero.
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         93.       This reduction                                                        s agreeing to


  exchange working gas                                                    ' equme
  through the Mare Lease Programs. At various other times , GeoStar, acting at the direction of

  Ferguson , also made available GasStar stock for

  Mare Lease Programs had been substantially overvalued and with the intent of

  concealing the fraudulent schemes.

         94.       Upon information and

  purchased substantial assets , including thoroughbred mares which they allegedly owned prior to

  payment by Plaintiffs ,     with funds

  thoroughbred interests and the Mare Lease Programs.                     , in 2004 , the year in which

  all of the Plaintiffs purchased Mare Lease Programs , ClassicStar reportedly spent $9 835 000 for

  a dozen mares.

         95.       Further , defendants used a portion of the fraudulently obtained

  the activities of ClassicStar , ClassicStar Farms , GeoStar and/or their affiliates , which accepted

  the funds with knowledge of the fraud and

  true operation of the Mare Lease Programs.

         96.       The use of these funds , in operation of the farms , the activities of GeoStar touted

  as alternative investments , and the marketing of the


  continuation of the fraudulent scheme and enabled the defendants to defraud Plaintiffs.

         97.       Using these fraudulent schemes , the defendants obtained over $500 million from

  participants , including approximately $30 million from Plaintiffs.
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          98.     ClassicStar now intends to                                                 , including

  approximately 90 broodmares , two of which are the                                 s 2005 leases and

  described as pregnant on the sales catalog, in November of this year.

                                     v.
          99.     The RICO

  violation of 18 US. C. 91341 or 91343 by using, or causing to be used , the United States mail or

  interstate wire communications in furtherance of and for the purposes of executing schemes to

  defraud and to obtain and maintain money by false pretenses. Each use of the mails or interstate

  wire communications in furtherance of and for the purposes of executing the schemes constitutes

  a separate and distinct violation of              C. 91341 and/or 91343. A

  relevant uses is attached as Exhibit E and incorporated by reference herein.

          100.    Defendants used mail and wire communications to


  fraudulent scheme ,   to induce                                              , to forestall Plaintiffs


  inquiry into the scheme , and to induce Plaintiffs ' participation.

          101.    Defendants misrepresentations using the United States mail and for the purpose of

  causing the use of the United

  made with the intent to                           , and plaintiffs in fact

  misrepresentations , including those relating to the nature of the Mare Lease Programs , to their

  detriment.

                                            COUNT        I -   RICO

          102.    The allegations of paragraphs

  forth herein.
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           103.    At all times                               , defendants ClassicStar and ClassicStar


  Farms were each an                                                      C. 91961(4) and used in 18


  US. C.   91962. Each was

  commerce apart from the pattern of racketeering activity alleged in this Complaint.

           104.    Defendants Ferguson , Plummer , GeoStar , ClassicStar and

  conspired to and did derive or receive income from a pattern of racketeering activity some part of

  which was invested and used to operate ClassicStar and/or ClassicStar Farms , enabling plaintiffs

  to be defrauded as set forth herein.

           105.    Each of the

  ClassicStar Farms and conspired to and did , as part of that employment or association , conduct

  or participate in the


  engaging in a pattern of racketeering activity.

           106.     The actions of defendants ,   including the conduct of the

  and/or ClassicStar Farms through a pattern of racketeering activity, took place over a period of at

  least four years and included multiple acts of mail and wire fraud.

           107.    Defendants have continuously engaged in criminal activities , including, but not

  limited to   , mail or wire fraud , as part of their overall

  continue indefinitely unless prevented.

           108.     The defendants '   pattern of racketeering


  and/or ClassicStar Farms , including acts of mail                       , have occurred within the


  relevant time periods outlined in 18 US. C.     91961(5).


           109.     Through their conduct of the enterprises , the defendants have made or caused to

  be made or distributed communications by United States mail which included misrepresentations
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  of material fact regarding the Mare Lease

  interstate wire                                                               Examples of

  communications and transfers in furtherance of the fraudulent schemes are described in attached

  Exhibit E.


         110.    By virtue of these and

  four years , the defendants


  series of predicate acts of mail and wire fraud that were related to one another in furtherance of

  the fraudulent schemes.

         111.    As a                                                ' conduct as set
  including defendants ' conduct of the affairs of and investment in ClassicStar and/or ClassicStar

  Farms , Plaintiffs were injured in their

  including the amount of their investment and legal expenses.

         112.    Also , at all times relevant to the Complaint , defendant GeoStar was an enterprise

  as that term is defined in          C. 91961(4) and used in 18 US. C. 91962. It was

  existed as an entity

  racketeering activity alleged in this Complaint.

         113.    Defendants Ferguson , Plummer , and ClassicStar and ClassicStar Farms conspired

  to and did derive or receive income from a pattern of

  was invested and used to operate GeoStar, enabling plaintiffs to be defrauded as set forth herein.

         114.    Each of
  conspired to and did ,   as part of that                           , conduct or

  conduct of the affairs of GeoStar through engaging in a pattern of racketeering activity.
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          115.      These acts of defendants , including the conduct of the affairs of GeoStar, through

  a pattern of racketeering activity, took place over a period of at least four years and

  multiple acts of mail and wire fraud.

          116.      Defendants have continuously engaged in criminal

  limited to ,   mail and wire fraud , as part of their overall

  continue indefinitely unless prevented.

          117.      The defendants ' pattern of racketeering activity, including acts of mail fraud and

  wire fraud ,   have occurred within the relevant time periods outlined in 18 US. C.   91961(5).


          118.      Through their conduct of the enterprises , the defendants have made or caused to

  be made or distributed communications by United States mail which included misrepresentations

  of material fact regarding the Mare Leasing

  interstate wire                                                                 Examples of

  communications and transfers in furtherance of the fraudulent schemes are described in Exhibit



          119.      By virtue of these and

  four years , the defendants


  series of predicate acts of mail and wire fraud that were related to one another in furtherance of

  the fraudulent schemes.

          120.      As a                                               ' conduct as set
  including defendants conduct of the affairs of and investment in GeoStar, plaintiffs were injured

  in their business and                                              , including the

  investments and legal expenses.
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          121.      At                                            , defendants Ferguson , Plummer , the


  companies which they formed , caused to be formed , or controlled , including ClassicStar

  ClassicStar Farms , GeoStar and NELC , and various agents of those

  association in fact and therefore are an " enterprise " as that term is defined in 18 US. C. 91961(4)

  and used in 18 US. C.         91962                     ClassicStar Enterprise        The
  Enterprise was

  interstate commerce , apart from the pattern of racketeering activity alleged in this Complaint.

          122.      Each of the
  Enterprise and each conspired to and did as part of that

  participate in the


  pattern of racketeering activity.

          123.      Each of the

  pattern of racketeering


  Enterprise , enabling the ClassicStar Enterprise to defraud plaintiffs as set forth herein.

          124.      As a whole , Defendants acted in concert , with specific , well- defined roles in the

  ClassicStar Enterprise , to achieve the


  plaintiffs into making payments for the misrepresented Mare Leasing Programs.

          125.      These acts of defendants , including the conduct of the affairs of the

  Enterprise through a pattern of racketeering activity, took place over a period

  years and included multiple acts of mail and wire fraud.

          126.      Defendants have continuously engaged in criminal

  limited to ,   mail and wire fraud , as part of their overall

  continue indefinitely unless prevented.
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          127.      The defendants ' pattern of racketeering activity, including acts of mail fraud and

  wire fraud ,   have occurred within the relevant time periods outlined in 18 US. C.   91961(5).


          128.      Through their conduct of the enterprises , the defendants have made or caused to

  be made or distributed communications by United States mail which included misrepresentations

  of material fact regarding the Mare Leasing

  interstate wire                                                                 Examples of

  communications and transfers in furtherance of the fraudulent schemes are described in Exhibit



          129.      By virtue of these and

  four years   , the                              , and are continuing to            , an uninterrupted

  series of predicate acts of mail and wire fraud that were related to one another in furtherance of

  the fraudulent schemes.

          130.      As a                                               ' conduct as set
  including defendants conduct of the affairs

  plaintiffs were injured in their business and property and continue to suffer injuries , including the

  amounts of their investments and legal expenses.

          131.      Pursuant to 18 US. C.

  defendants , jointly and severally, treble damages , their costs and reasonable attorney fees.

                                COUNT     II -   COMMON LAW FRAUD

          132.      The allegations of paragraphs

  forth herein.
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           133.     In order to induce plaintiffs to purchase the Mare Lease Programs , and with the

  intent that plaintiffs rely on their representations , defendants made certain misrepresentations of

  material fact and omitted to disclose certain material facts which they had a duty to disclose.

           134.     As described above , from 2004 on , in promotional materials and in presentations

  defendants represented to


  connection with the Mare Lease Programs and that defendants had structured the programs to fall

  well within IRS requirements for such deductions ,       that the actions of the

  with all applicable laws , that the Plaintiffs were provided services of value equal to the amounts

  attributed to the mare leases , stud fees and boarding costs , and that the horses involved in the

  programs had                            , that all of the
  thoroughbreds , and that the historical

  Illustrations.

  and NELC , the ownership ofNELC by a relative ofPlummers , and the substitution of round-up

  mares or quarter horse embryos.

           135.     Each of the foregoing representations was false when it was made and each of the

  omitted facts was one which defendants had a duty to disclose.

           136.     Defendants knew each

  disregard to the truth or falsity of the misrepresentation , in that they knew they had no basis for

  the misrepresentation , or intentionally failed to disclose material facts.

           137.     Plaintiffs reasonably and justifiably relied on the representations to their detriment

  by,   inter alia their agreement to

  The Plaintiffs would not have agreed to purchase the Programs but for the misrepresentations of

  the defendants.
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          138.    Plaintiffs have

  reasonable reliance on the misrepresentations of defendants.

          139.    The defendants committed this fraud and made said misrepresentations

  wantonly, and with malicious disregard of the rights of the plaintiffs.

          140.    Plaintiffs are entitled to punitive and compensatory damages and/or rescission of

  the agreements as a result of defendants ' fraud.

                              COUNT III - BREACH OF CONTRACT

          141.    The allegations of paragraphs

  forth herein.


          142.    Defendant ClassicStar entered into various agreements with Plaintiffs , including

  the letter agreements and the Mare Lease Agreements.

          143.    ClassicStar failed to fulfill its

  the provisions of these agreements , including,     inter alia its warranty that it owned the mares

  represented as involved in the Mare Lease Program.

          144.    As a direct and proximate result of ClassicStar ' s breach , Plaintiffs have incurred

  damages , including the cost of the Mare Lease Programs and lost profits relating to the breeding

  of the mares.

                                COUNT IV- THEFT BY DECEPTION

          145.    The allegations of paragraphs

  forth herein.


          146.    The defendants conspired to and did commit theft by deception as prohibited by

  KRS 514. 040 by obtaining property from the Plaintiffs by deception with the intent to

  the Plaintiffs of same.
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          147.    Specifically, the defendants created a

  mares and services that they offered in connection with the Mare Lease Programs.

          148.    As a direct and proximate result of the                           , Plaintiffs paid

  sums in connection with the Mare Lease Programs , including amounts represented to reflect 30%

  of the value of the mares , and stud fees and board fees.

          149.    Pursuant to KRS 446. 070 , Plaintiffs are entitled to recover damages directly and

  proximately resulting from such violation.

                                  COUNT    V -   UNJUST ENRICHMENT

          150.    The allegations of paragraphs

  forth herein.


          151.    Plaintiffs made payments to defendants based on defendants ' false and misleading

  descriptions of the Mare Lease Programs , the horses involved in the Mare Lease Programs , and

  the services that they provided as part of those Mare Lease Programs , and these payments were

  deposited in accounts controlled by defendants.

          152.    Defendants used a portion of these funds in furtherance of their fraudulent scheme

  and to purchase property currently held by defendants.

          153.    In addition ,   upon information and belief, the

  the funds to defendant Geostar, for use in the operation of its business , and specifically to fund

  gas exploration opportunities which have resulted in profit to Geostar.

          154.    Defendants were not entitled to these funds , which were obtained from Plaintiffs

  through fraud and improper means , and Plaintiffs would not have transferred the funds had the

  true nature of the transaction been known.
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          155.    Defendants , including defendant Geostar ,    were unjustly enriched by obtaining


  proceeds from Plaintiffs by fraud and in

  received by Plaintiffs.

          156.    As a result of defendants ' unjust receipt of these sums , Plaintiffs have sustained

  damages , including the amount of their payments.

                                     COUNT VI - CONSPIRACY

          157.    The allegations of paragraphs

  forth herein.


          158.    Each of the defendants agreed to and acted in concert with the others in carrying

  out the fraudulent scheme described above.

          159.    Each of the defendants

  scheme.

          160.    Plaintiffs have suffered damages as a result of the defendants ' concerted activities

  as described above , for which the defendants are jointly and severally liable.

                            COUNT VII - MONEY HAD AND RECEIVED

          161.    The allegations of paragraphs

  forth herein.


          162.    Defendants ,   including defendant Geostar,   hold funds that in equity and

  conscience belong to Plaintiffs , which Plaintiffs are in equity and law entitled to recover.

                                    COUNT VIII - ACCOUNTING

          163.    The allegations of paragraphs

  forth herein.
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          164.    As part of the programs , ClassicStar agreed to hold , on behalf of Plaintiffs , title to

  certain property belonging to Plaintiffs , including the foals resulting from the breedings utilizing

  the mare leases.

          165.    ClassicStar holds such property in trust for and as agent for the Plaintiffs.

          166.    Plaintiffs are entitled to an

  property, including the current status of title to the thoroughbred foals ClassicStar represented as

  belonging to Plaintiffs , the result of the

  disposition of any foals resulting from those pairings.

          167.    To the extent that

  prior to accounting, such disposition will cause irreparable harm to Plaintiffs for which there is

  no remedy at law.

                              COUNT      IX -   CONSTRUCTIVE TRUST

          168.    The allegations of paragraphs

  forth herein.


          169.    Plaintiffs paid ClassicStar tens of millions of dollars between the middle and end

  of2004.

          170.    ClassicStar did not own the equine interests that it represented to Plaintiffs at the

  time of these payments;                                                                  ' Mare Lease

  Programs. Further , defendants misrepresented the true nature of the Mare Lease Programs.

          171.    Upon information and belief, defendants used funds wrongfully acquired from the

  Plaintiffs to                                                                     , currently in


  possessIOn.
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          172.    Having obtained Plaintiffs ' funds through the improper and

  described herein ,   defendants hold those funds or their proceeds in constructive trust for Plaintiffs

  and must return or account for same.

          173.    To the extent that defendants intend to dispose of or distribute such property, such

  disposition will cause irreparable harm to Plaintiffs for which there is no remedy at law.

                                  COUNT     X -   PUNITIVE DAMAGES

          174.    The allegations of paragraphs

  forth herein.


          175.    The actions of the defendants described above were undertake with fraud , malice

  and oppression so as to entitle Plaintiffs to punitive damages under applicable law.

          WHEREAS , Plaintiffs respectfully demand as follows:

                  judgment upon their complaint against all defendants;

                  compensatory damages;

                  punitive damages;

                  treble damages and attorney fees where authorized;

                  injunctive relief;

                  a constructive trust of defendants                                            ' assets


  traceable to payment by Plaintiffs for benefit of Plaintiffs;

                  trial by jury on all issues so triable; and

                  any and all other relief to which Plaintiffs appear entitled.
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